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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   HUGO CESAR TOSCANO-CASZRES,                       No. 1:09-cr-00272-DAD
12                      Plaintiff,
13           v.                                        ORDER REFERRING MOTIONS TO
                                                       FEDERAL DEFENDER’S OFFICE
14   UNITED STATES OF AMERICA,
15                      Respondent.
16

17           Petitioner Hugo Cesar Toscano-Caszres is a federal prisoner who has filed a pro se motion

18   for clarification, which appears to be a petition for writ of habeas corpus under 28 U.S.C. § 2241,

19   in which he argues that his time credits were improperly calculated. (See Doc. No. 391.)1 In his

20   most recent request for clarification, deemed by the court to be a petition for habeas relief,

21   petitioner appears to contend that although his federal sentence in this action was imposed to run

22   concurrently with the state sentence he was then serving, he is not being given credit for the

23   eighteen month sentence he served in the Santa Clara County Jail on the state court sentence.

24   (Id.)

25           In response to an order of this court, the government filed a motion to dismiss on June 13,

26   2017. (Doc. No. 394.) In that motion, the government argues that: 1) the court already took into

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      The court had previously denied petitioner’s motion for a reduction of his sentence under 18
28   U.S.C. § 3582(c)(2). (Doc. Nos. 377, 388 & 392.)
                                                    1
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 1   account via a downward variance the time served by defendant in Santa Clara Jail when it

 2   originally sentenced him on November 28, 2011 to a term of 149 months in prison;2 and 2) the

 3   court lacks personal jurisdiction because petitioner must name as the respondent the warden of

 4   the prison where he is confined - the Reeves County Detention Center located in Pecos, Texas -

 5   and any habeas petition must be addressed to the district court in the district where petitioner is

 6   confined. (Doc. No. 394.)

 7          The Federal Defender’s Office (“FDO”) will be appointed to represent defendant in

 8   conjunction with his pro se motion for clarification and the government’s motion to dismiss. The

 9   FDO shall have 30 days from the date of this order to oppose the motion to dismiss and file a

10   supplement to defendant’s pro se motion under 28 U.S.C. § 2255 or to notify the court and the

11   government it does not intend to file either an opposition or a supplement to petitioner’s motion.

12   IT IS SO ORDERED.
13
         Dated:    June 16, 2017
14                                                      UNITED STATES DISTRICT JUDGE

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26     See Presentence Report at 21 (“the defendant should receive credit for relevant conduct that lead
     to a conviction in state court and a state prison sentence. It is thought a sentence of 149 months, a
27   downward variance below the advisory guideline range, best serves to satisfy the stated factors of
     18 USC 3553(a).”); but see Judgment (Doc. No. 255) at 2 (“The defendant is . . . to be imprisoned
28   for a total term of 149 months, to run concurrently to the state sentence.”).
                                                        2
